               IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           Western Division
                     Civil Action No. 5:19-cv-142

YAQUELIN MEDINA,                             )
                                             )
                    Plaintiff,               )
                                             )
                    v.                       )
                                             )
WESTDALE BRENTMOOR, LLC d/b/a                )
BRENTMOOR          APARTMENTS,               )
                                                 CORPORATE DISCLOSURE
WESTDALE PROPERTIES AMERICA                  )
                                                      STATEMENT
I, LP a/k/a WESTDALE PROPERTIES              )
AMERICA I, LTD., and WESTDALE                )
ASSET MANAGEMENT, LIMITED                    )
PARTNERSHIP a/k/a WESTDALE                   )
ASSET MANAGEMENT, LTD.,                      )
                                             )
                    Defendants.              )


      Defendant Westdale Asset Management, Limited Partnership a/k/a Westdale

Asset Management, LTD., by and through counsel and pursuant to Rule 7.1 of the

Federal Rules of Civil Procedure and Local Rule 7.3, makes the following disclosure:

      1.     Is party a publicly held corporation or other publicly held entity?

             YES ____            NO      X

      2.     Does party have any parent corporations?

             YES    X            NO

             If yes, identify all parent corporations, including grandparent and great-
             grandparent corporations:

             Augusta Investment Company, Ltd; JGB Ventures I, Ltd.; Kimel Family
             Holdings, Inc.; JGB Holdings, Inc.; JGB Ventures, Inc.




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       3.     Is 10% or more of the stock of a party owned by a publicly held
              corporation or other publicly held entity?

              YES                      NO   X

              If yes, identify all such owners:


       4.     Is there any other publicly held corporation or other publicly held entity
              that has a direct financial interest in the outcome of this litigation?

              YES ___                  NO   X

              If yes, identify entity and nature of interest:


       5.     Is party a trade association?

              YES ___                  NO   X

               If yes, identify all members of the association, their parent
               corporations, and any publicly held companies that own 10% or more of
               a member’s stock:

       6.      If case arises out of a bankruptcy proceeding, identify any trustee and
               the members of any creditors’ committee:

               N/A


       This the 10th day of April, 2019.

                                                   /s/ Laura E. Dean

                                                RICHARD T. BOYETTE
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                                                LAURA E. DEAN
                                                N.C. State Bar No. 43775
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                                                Management, LP a/k/a Westdale Asset
                                                Management, Ltd.


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                IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          WESTERN DIVISION
                      Civil Action No. 5:19-cv-142

 YAQUELIN MEDINA,                             )
                                              )
                            Plaintiff,        )
                                              )
                      v.                      )
                                              )
 WESTDALE BRENTMOOR, LLC d/b/a                )
 BRENTMOOR          APARTMENTS,               )
 WESTDALE PROPERTIES AMERICA                  )     CERTIFICATE OF SERVICE
 I, LP a/k/a WESTDALE PROPERTIES              )
 AMERICA I, LTD., and WESTDALE                )
 ASSET MANAGEMENT, LIMITED                    )
 PARTNERSHIP a/k/a WESTDALE                   )
 ASSET MANAGEMENT, LTD.,                      )
                                              )
                            Defendants.       )

       I hereby certify that on April 10, 2019, a copy of the foregoing Corporate
Disclosure Statement was filed with the clerk of court using the CM/ECF system and
will deposit the foregoing document in the U.S. Mail addressed to the following:

       Edward H. Maginnis
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       Westdale Properties America I, LP
       c/o CT Corporation System
       160 Mine Lake Ct Ste 200
       Raleigh, NC 27615


                                                 /s/ Laura E. Dean

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                                             Management, Ltd.




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